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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

                                Plaintiffs,     Case No. 1:20-cv-03010-APM

 v.                                             HON. AMIT P. MEHTA

Google LLC,

                                Defendant.




State of Colorado, et al.,

                                Plaintiffs,     Case No. 1:20-cv-03715-APM

 v.                                             HON. AMIT P. MEHTA

Google LLC,

                                Defendant.



              EXECUTIVE SUMMARY OF DEFENDANT GOOGLE LLC’S
                        PROPOSED FINAL JUDGMENT
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        Google today submits its Proposed Final Judgment (“PFJ”) pursuant to the Court’s

Scheduling Order (ECF 1043) and in connection with the Court’s August 5, 2024 Opinion holding

that certain search distribution and browser default agreements violated Section 2 of the Sherman

Act.

        It is axiomatic that courts “must be careful to avoid constructions of § 2 which might chill

competition, rather than foster it.” New York v. Microsoft Corp., 224 F. Supp. 2d 76, 136 (D.D.C.

2002) (quoting Spectrum Sports, Inc. v. McQuillan, 506 U.S. 447, 458 (1993)). “[A]ny dampening

of technological innovation,” the D.C. Circuit has warned, “would be at cross-purposes with

antitrust law.” Id. at 158 (quoting United States v. Microsoft Corp., 147 F.3d 935, 948 (D.C. Cir.

1998)). Accordingly, “[w]hen it comes to fashioning an antitrust remedy, . . . caution is key,” as

“markets are often more effective than the heavy hand of judicial power when it comes to

enhancing consumer welfare.” NCAA v. Alston, 594 U.S. 69, 106 (2021). That could not be more

true than here, where consumers and advertisers have benefited for decades from extraordinary

innovations and product improvements to Google’s search engine and search advertising auction

technologies. Or in an environment where remarkable artificial intelligence innovations are

rapidly changing how people interact with many online products and services, including search

engines.

        This Court has recognized that Google’s investments and innovations have benefited

consumers of its services. The Court found that “Google is widely recognized as the best [general

search engine] available in the United States,” Op. at 46 (FOF ¶ 126); it “has long been the best

search engine, particularly on mobile devices,” where the contracts at issue in the case applied,

Op. at 199 (citing FOF ¶¶ 126-27); and “Google’s partners value its quality, and they continue to

select Google as the default because its search engine provides the best bet for monetizing queries,”



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Op. at 199 (citing FOF ¶¶ 126, 133). The Court did not find that Google acquired a monopoly in

any market through anticompetitive conduct. (Indeed, Plaintiffs never asserted such a claim.) And

the Court recognized that Google has “built brand loyalty and recognition by offering a high

quality product,” Op. at 47 (FOF ¶ 130); and that “[s]earch has changed dramatically over the last

15 years, largely because” of Google’s continuing innovations, Op. at 247 (citing FOF ¶ 128).

       The D.C. Circuit has recognized that where, as here, Plaintiffs seek sweeping relief, courts

“require[] a clearer indication of a significant causal connection between the conduct and creation

or maintenance of market power.” Massachusetts v. Microsoft Corp., 373 F.3d 1199, 1230 (D.C.

Cir. 2004) (emphasis in original) (citation omitted). And “[a]bsent such causation, the antitrust

defendant’s unlawful behavior should be remedied by an injunction against continuation of that

conduct.” United States v. Microsoft Corp., 253 F.3d 34, 106 (D.C. Cir. 2001) (citation omitted).

But Plaintiffs and their experts never even attempted to show that, but for Google’s allegedly

anticompetitive conduct, Google would have lost a single percentage point of market share, much

less that Google would not have maintained its market-leading position. A mere inference of

causation cannot support the imposition of drastic remedies expressly designed to intervene in the

market and prevent Google from competing on the merits for a decade—and eliminate incentives

for Google (and its rivals) to innovate and improve search and search ads technologies during the

term of any final judgment. See id. at 106-07.

       In addition to the stringent requirement of causation, this Circuit has imposed other

important limitations on the scope of relief that may be ordered to remedy an antitrust violation.

Even in the consent decree context, the D.C. Circuit observed that “remedies must be of the ‘same

type or class’ as the violations.” United States v. Microsoft Corp., 56 F.3d 1448, 1460 (D.C. Cir.

1995) (quoting Zenith Radio Corp. v. Hazeltine Rsch., Inc., 395 U.S. 100, 132-33 (1969)). The



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D.C. Circuit has also stated that Sherman Act remedies must not be “so expansive as to be unduly

regulatory or provide a blanket prohibition on all future anticompetitive conduct.” Massachusetts,

373 F.3d at 1215-16. After all, “a finding of an offense under the antitrust laws does not invest a

court with a license to embark upon a general program of comprehensive control of the defendants’

business.” United States v. Nat’l City Lines, 134 F. Supp. 350, 355 (N.D. Ill. 1955). And the

Supreme Court has urged caution in the crafting of antitrust remedies, lest courts inadvertently

undercut the core purpose of antitrust law—promoting competition that ultimately enhances the

welfare of consumers. Supra p. 1.

I.     Google’s Proposed Final Judgment.

       While Google respectfully disagrees with the Court’s liability determination, Google’s PFJ

provides appropriate relief for the Court’s holding that certain of Google’s contracts are exclusive

and violate Section 2 of the Sherman Act. The Court’s liability determination covered Google’s

search engine distribution and promotion agreements with Android mobile device manufacturers

and wireless carriers and Google’s default search engine agreements with browser developers

Apple and Mozilla. The Court concluded that these agreements were exclusive and substantially

foreclosed competition in two markets (for general search engines and general search text ads)

based on its assessment of the “coverage” of these agreements. The Court did not find that

Google’s payment for non-exclusive distribution or promotion of Google Search would have been

anticompetitive or otherwise unlawful.

       Google’s PFJ addresses the conduct at issue while still allowing Google and its rivals to

compete on the merits, thereby generating benefits for Android partners and browser developers

and the consumers that enjoy their products. The PFJ provides that Google could not condition

the licensing of the Google Play store or other Google applications on the licensing of its mobile



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Search application (or Chrome application even though Chrome was not the subject of any claim

in this case). Thus, Android partners would not need to license Google Search (or Chrome) in

order to preload Google Play or other Google applications on Android devices, addressing the

Court’s concerns about device manufacturers’ options to preload a rival search engine, including

on an exclusive basis.      Google’s PFJ thereby gives Android partners additional licensing

flexibility, while still allowing Google to compete for preinstallation of Google Search on Android

devices.

       Google’s PFJ also prohibits Google from conditioning licensing, payment, or any other

form of consideration on an Android partner agreeing not to preload or place rival general search

engines or third-party browsers on mobile devices. These provisions directly address the Court’s

core concerns regarding search engine exclusivity in preload distribution on Android devices; and

they go beyond the conduct the Court invalidated—for example, the PFJ also prohibits the

exclusive licensing of Chrome, a practice not at issue in the liability phase of the case.

       Google’s proposal also includes specific provisions addressing generative artificial

intelligence chatbot products, in order to allay any concern that Google could employ exclusive

distribution agreements to obtain preload of its Gemini Assistant chatbot mobile application

(formerly known as Bard). Specifically, Google’s PFJ provides that Android partners can license

Google Play, Search, and/or Chrome without also licensing Google’s Gemini Assistant mobile

application. Google’s PFJ further prohibits it from conditioning consideration on a partner

refraining from the preload of rival generative AI assistive chatbot services. These provisions

address the potential for generative artificial intelligence chatbots to become substitutes for general

search engines.




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       With respect to agreements with browser developers, Google’s PFJ gives these developers

greater flexibility to set rivals as defaults and guarantees annual contestability where a developer

chooses to set Google as the default search engine for a particular operating system version of its

browser or browsing mode. Specifically, any agreement that results in a browser developer

choosing to set Google as the default on any browser built for a particular operating system or for

any browsing mode within a browser must be terminable on an annual basis, and browser

developers may set different search engines as the default across different browser operating

system versions and different browsing modes. These provisions ensure that any browser default

agreements are non-exclusive (per the Court’s exclusivity determination) and contestable on a

regular basis.1

       Lastly, Google’s PFJ has a term of three years rather than the ten-year term proposed by

Plaintiffs. The pace of innovation in search has been extraordinary and there is every reason to

believe that will continue as developments in artificial intelligence rapidly change online

computing products and services. Regulating a fast-changing industry like search with an invasive

decree like the one proposed by Plaintiffs would harm competition, innovation, and consumers.

II.    Google’s Proposed Final Judgment Complies with Core Principles of Remedies Case
       Law.

       A.         The D.C. Circuit Requires Strict Proof of Causation for Remedies Exceeding
                  the Conduct Adjudged Anticompetitive.

       The D.C. Circuit has explained that when extraordinary remedies, including structural

relief, are at issue, a significant causal connection is required. See Microsoft Corp., 253 F.3d at

106-07. In particular, when plaintiffs request structural relief, they must provide “a clearer


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  Consistent with this Court’s conclusions (Op. at 135) and the relevant geographic market alleged
by Plaintiffs, these remedies apply to agreements covering mobile devices and browsers distributed
in the United States.

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indication of a significant causal connection between the conduct and creation or maintenance of

the market power.” Massachusetts, 373 F.3d at 1230 (emphasis in original) (citation omitted).

“Absent such causation, the antitrust defendant’s unlawful behavior should be remedied by ‘an

injunction against continuation of that conduct.’” Microsoft Corp., 253 F.3d at 106 (citation

omitted).

        To state the obvious, the “[m]ere existence of an exclusionary act does not itself justify full

feasible relief against the monopolist to create maximum competition.” Microsoft Corp., 253 F.3d

at 106 (citation omitted). Instead, there must be “a proportionality between the strength of the

evidence of the causal connection and the severity of the remedy.” New York, 224 F. Supp. 2d at

102. Courts must “tailor the relief” in light of “the strength of the causation evidence that

established liability.” Id.; Microsoft Corp., 253 F.3d at 107 (relief “should be tailored to fit the

wrong creating the occasion for the remedy”); see also id. at 105 (requiring “a significant causal

connection between the conduct enjoined or mandated and the violation found directed toward the

remedial goal intended” (citation omitted)); Optronic Techs., Inc. v. Ningbo Sunny Elec. Co., 20

F.4th 466, 486 (9th Cir. 2021) (same). This is particularly important in cases, like this one, that

do not involve monopoly acquisition but rather monopoly maintenance. In such a case, it has been

accepted that “the proper objective of the remedy . . . is termination of the exclusionary acts and

practices related thereto which served to illegally maintain the monopoly,” rather than market

intervention whose purpose is termination of the monopoly itself. New York, 224 F. Supp. 2d at

101.

        Consistent with these guiding lights, New York v. Microsoft Corp. repeatedly rejected

remedies that were too far afield from the ultimate liability findings that were affirmed on appeal.

The court refused to impose “open-sourcing of [Internet Explorer] or the mandatory auction of



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Office licenses as remedies,” id. at 186, and declared plaintiffs’ request for broad technical

disclosures (which would have enabled “cloning” of Microsoft software) to be an “unjustified

divestiture of Microsoft’s intellectual property.” Id. at 177. The court also analogized the forced,

royalty-free sharing with rivals of extensive technical information, id. at 177-78, open-sourcing of

Internet Explorer, id. at 186, and mandatory auction of Microsoft Office, id., to divestiture, because

those proposed remedies would have deprived Microsoft of valuable intellectual property—“one

of Microsoft’s primary assets,” id. at 177. The D.C. Circuit affirmed these holdings, to the extent

that they were challenged, and reiterated its “concern[] [that] a drastic remedy, such as divestiture,

would be inappropriate if Microsoft’s dominant position in the operating system market could not

be attributed to its unlawful conduct.” Massachusetts, 373 F.3d at 1231; see also id. at 1233.

       In connection with the non-settling plaintiff states’ request to compel an open-source

license to Internet Explorer, the court applied a but-for causation test, holding that the states failed

to “establish[] that the present success of [Internet Explorer] is attributable entirely, or even in

predominant part, to Microsoft’s illegal conduct.” New York, 224 F. Supp. 2d at 185 n.81; cf. id.

at 260-62 (“There is no evidence that Java would today possess ‘equal footing,’ in terms of

distribution, with Microsoft, but for Microsoft’s anticompetitive conduct.”). The rejection of that

remedy was upheld on appeal. Massachusetts, 373 F.3d at 1233.

       Google’s PFJ provides more than adequate relief to address this Court’s holding of

anticompetitive conduct in connection with Google’s contracts. Op. at 4. In contrast, Plaintiffs

ask this Court to impose unprecedented and sweeping remedies, purportedly to “deny Google the

fruits of its statutory violations.” ECF 1062 at 2. At the appropriate time, Google will respond in

full to Plaintiffs’ proposed remedies on factual and legal grounds. It is enough, for now, to note

that “the fruits of a violation must be identified before they may be denied.” Massachusetts, 373



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F.3d at 1232. This requires a clear showing of causation—one that Plaintiffs have failed to make.

Supra pp. 5-8.

       B.        Sherman Act Remedies Must be of the Same “Type or Class” as the Conduct
                 Adjudged Anticompetitive.

       When (as here) a plaintiff seeks a remedy that exceeds the anticompetitive conduct found

at trial, “the remedies must be of the ‘same type or class’ as the violations.” Microsoft Corp., 56

F.3d at 1460 (quoting Zenith Radio Corp., 395 U.S. at 132-33); New York, 224 F. Supp. 2d at 136.

Under this standard, a court may not enjoin “clearly lawful practices . . . simply because they will

weaken the antitrust violator’s competitive position.” New York, 224 F. Supp. 2d at 109. Google’s

PFJ adheres to these principles.

       The New York court applied the “type or class” limitation to reject overreaching relief. The

court denied an attempt to broaden the definition of “middleware” to forms of technology not at

issue in the liability phase, 224 F. Supp. 2d at 135-37, and refused to fashion remedies to address

“‘new’ bad acts” where they were not of the same type or class as the conduct held to violate the

Sherman Act, id. at 186.

       C.        The Sherman Act Bars Remedies That Chill Competition or Stifle Innovation.

       When crafting remedies, courts must be “careful to avoid constructions of § 2 which might

chill competition, rather than foster it.” New York, 224 F. Supp. 2d at 136 (quoting Spectrum

Sports, Inc., 506 U.S. at 458); see also id. at 111 (“The purpose of the [Sherman] Act is not to

protect businesses from the working of the market; it is to protect the public from the failure of the

market.” (quoting Spectrum Sports, Inc., 506 U.S. at 458)). Accordingly, remedies may not

“impermissibly threaten[] to interfere with ordinary and legitimate commercial practices inherent”

in the defendant’s “participation in the . . . industry.” New York, 224 F. Supp. 2d at 137 (citing




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Spectrum Sports, Inc., 506 U.S. at 458; United States v. Bausch & Lomb Optical Co., 321 U.S.

707, 728 (1944)).

       The Supreme Court has emphatically endorsed the notion that antitrust law should not chill

competition or harm consumers. In Verizon Communications Inc. v. Law Offices of Curtis V.

Trinko, LLP, the Court noted that “[c]ompelling . . . firms to share the source of their advantage is

in some tension with the underlying purpose of antitrust law, since it may lessen the incentive for

the monopolist, the rival, or both to invest.” 540 U.S. 398, 407-08 (2004); accord Novell, Inc. v.

Microsoft Corp., 731 F.3d 1064, 1073 (10th Cir. 2013) (Gorsuch, J.) (“Forcing firms to help one

another would also risk reducing the incentive both sides have to innovate, invest, and expand.”).

Thus, “when it comes to the remedy,” courts must take care to avoid decrees that “could wind up

impairing rather than enhancing competition” and through detailed, court-imposed terms of

dealing make judges, who “should never aspire to the role,” “central planners.” Alston, 594 U.S.

at 102-03 (citing Trinko, 540 U.S. at 408, 415).

       Microsoft again illustrates the application of these essential principles. There, the New

York court rejected proposed relief that would have permitted “cloning” of Microsoft’s valuable

intellectual property, lest it “deny ‘Microsoft the returns from its investment in innovation.’”

Massachusetts, 373 F.3d at 1218-19 (quoting New York, 224 F. Supp. 2d at 176). The D.C. Circuit

affirmed that determination. Id. at 1218-19, 1222. The New York court also refused to enter

another remedy that would have provided a “windfall” or “subsidy” to Microsoft’s competitors,

224 F. Supp. 2d at 244-45, and narrowly tailored a ban on contractual retaliation to avoid “unduly

restrict[ing] legitimate business practices,” id. at 163 (citation omitted); see also Bausch & Lomb,

321 U.S. at 728-29 (providing that Congress expressed no “intention to interfere with ordinary

commercial practices”). Google’s PFJ—by addressing the contract-related holding of the liability



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phase—applies these well-established precepts, while still allowing Google to compete on the

merits to the benefit of consumers.

       D.      The Sherman Act Prohibits “Unduly Regulatory” Remedial Measures.

       Google’s PFJ complies with another maxim of D.C. Circuit case law: “the remedy [must]

not [be] so expansive as to be unduly regulatory or provide a blanket prohibition on all future

anticompetitive conduct.” Massachusetts, 373 F.3d at 1215-16 (quoting New York, 224 F. Supp.

2d at 171); see also New York, 224 F. Supp. 2d at 100 (providing that antitrust relief should not

“adopt overly regulatory requirements which involve the judiciary in the intricacies of business

management”); Zenith Radio Corp., 395 U.S. at 133. In this regard, the New York court warned

against remedies that amount to “market engineering.” 224 F. Supp. 2d at 261-62; see also id. at

189 (“The Court’s role is . . . not to engineer a particular market outcome.”); accord Alston, 594

U.S. at 106 (noting courts’ “limitations—as generalists, as lawyers, and as outsiders trying to

understand intricate business relationships”). The Supreme Court has shown special sensitivity to

the prospect of “continuing supervision of a highly detailed decree.” Alston, 594 U.S. at 102

(quoting Trinko, 540 U.S. at 415). In that circumstance, the Court has warned, “the decrees

themselves may unintentionally suppress procompetitive innovation,” not least because “[j]udges

. . . are neither economic nor industry experts.” Id. Google’s PFJ avoids setting the Court down

such a fraught path for years to come.

                                         *       *       *

       Google reserves the right to add, remove, or modify provisions of its Proposed Final

Judgment. Consistent with the Court’s scheduling order governing remedy proceedings, Google

will file a Revised Proposed Final Judgment on March 7, 2025. ECF 1043 at 2. Google reserves

the right to appeal any final judgment, as well as the Court’s underlying liability determination.



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Dated: December 20, 2024            Respectfully submitted,

                                    WILLIAMS & CONNOLLY LLP

                                    By: /s/ John E. Schmidtlein
                                    John E. Schmidtlein (D.C. Bar No. 441261)
                                    Benjamin M. Greenblum (D.C. Bar No.
                                    979786)
                                    Colette T. Connor (D.C. Bar No. 991533)
                                    680 Maine Avenue, SW
                                    Washington, DC 20024
                                    Tel: 202-434-5000
                                    jschmidtlein@wc.com
                                    bgreenblum@wc.com
                                    cconnor@wc.com

                                    WILSON SONSINI GOODRICH & ROSATI P.C.
                                    Michael Sommer (admitted pro hac vice)
                                    Franklin M. Rubinstein (D.C. Bar No. 476674)
                                    1700 K Street, NW
                                    Washington, DC 20006
                                    Tel: 202-973-8800
                                    msommer@wsgr.com
                                    frubinstein@wsgr.com

                                    ROPES & GRAY LLP
                                    Mark S. Popofsky (D.C. Bar No.
                                    454213) 2099 Pennsylvania Avenue,
                                    NW Washington, DC 20006
                                    Tel: 202-508-4624
                                    Mark.Popofsky@ropesgray.com

                                    Matthew McGinnis (admitted pro hac vice)
                                    Prudential Tower
                                    800 Boylston Street
                                    Boston, MA 02199
                                    Tel: 617-951-7703
                                    Matthew.McGinnis@ropesgray.com

                                    Counsel for Defendant Google LLC




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